            CASE 0:20-cv-02399-MJD-DTS Doc. 1 Filed 11/27/20 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

                                                 Civil File No. 20-CV-_______(___/___)
Bachman’s, Inc.,
                                Plaintiff,
vs.                                                 DEFENDANT’S NOTICE OF
                                                          REMOVAL
Florists’ Mutual Insurance Company,

                              Defendant.


       Defendant Florists’ Mutual Insurance Company (“Florists’ Mutual”) hereby

removes this action from the District Court for the County of Hennepin, State of

Minnesota, Fourth Judicial District to the United States District Court for the District of

Minnesota pursuant to 28 U.S.C. §§ 1441 and 1446, and as grounds for its removal states

as follows:

                                 Statement of the Case

       1.      On November 6, 2020, Plaintiff Bachman’s, Inc. (“Bachman’s”)

commenced this action against Florists’ Mutual, styled Bachman’s, Inc v. Florists’

Mutual Insurance Co., in the District Court for the County of Hennepin, State of

Minnesota, Fourth Judicial District, by serving Florists’ Mutual with a copy of a

Summons and Complaint (the “State Court Action”). (Declaration of Tom Richey, ¶ 2,

Ex. A (Complaint).)

       2.      On November 10, 2020, Bachman’s filed the State Court Action in

Hennepin County District Court where it was assigned Case No. 27-CV-20-14327.
            CASE 0:20-cv-02399-MJD-DTS Doc. 1 Filed 11/27/20 Page 2 of 5




       3.      Florists’ Mutual has not yet served an Answer to or moved to dismiss the

Complaint.

                              Background and Allegations

       4.       Florists’ Mutual is an insurance company specializing in providing

business insurance coverage and risk management to horticultural and floral operations,

among others. (Richey Decl. ¶ 3.)

       5.      Bachman’s purchased a business insurance policy (“Policy”) from Florists’

Mutual, which Florists’ Mutual issued on February 1, 2020. (Richey Decl. ¶4.)

       6.      Bachman’s Complaint alleges that, as a result of COVID-19, it “was forced

to close its retail stores and limit its wholesale operations” in “springtime 2020.” (Richey

Decl., Ex. A at ¶ 5.) It further alleges that Florists’ Mutual denied coverage under the

Policy for Bachman’s alleged losses. (Id. at ¶ 7.) Bachman’s asserts two causes of

actions arising from Florists’ Mutual’s interpretation of the Policy and decision not to

provide coverage: breach of contract and a declaration of rights. (Id.)

                    Diversity Jurisdiction Under 28 U.S.C. § 1332(a)

       7.      This Court has jurisdiction over this matter under 28. U.S.C. § 1332(a)

because there is complete diversity of citizenship between Bachman’s and Florists’

Mutual and the amount in controversy exceeds $75,000, exclusive of interests and costs.

       8.      On information and belief, Bachman’s a citizen of the State of Minnesota in

that it is a corporation organized and existing under the laws of the State of Minnesota

with its principal place of business in Minneapolis, Minnesota, because it alleges that it is


                                             2
            CASE 0:20-cv-02399-MJD-DTS Doc. 1 Filed 11/27/20 Page 3 of 5




“domiciled in Minnesota and headquartered in Minneapolis, [Minnesota].” (Richey Decl.,

Ex. A at ¶ 1.)

       9.        Florists’ Mutual is a citizen of the State of Illinois in that it is a mutual

insurance company organized and existing under the laws of the Illinois with its principal

place of business in Illinois. (Richey Decl. ¶ 5.)

       10.       Based on the facts alleged in the Complaint as well as Bachman’s pre-suit

representations, without agreeing that they are true or that Florists’ Mutual is entitled to

any damages or a declaration of coverage, Bachman’s believes in good faith that the

amount in controversy in this action exceeds $75,000, exclusive of interests and costs.

(See Richey Decl. ¶ 6, Ex. B (Letter from Susan Bachman West, President of Bachman’s,

to Florists’ Mutual (claiming that Bachman’s “incurred loss is in the approximate range

of $1.75 million, plus extra expenses”)).

             All Procedural Requirements for Removal Have Been Satisfied

       11.       Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of all of the

process, pleadings, and orders from the State Court Action which have been served on

Florists’ Mutual are being filed as Exhibit A to the Declaration of Tom Richey.

       12.       This Notice of Removal has been filed within 30 days of November 6,

2020, the date that Florists’ Mutual was served with the Summons and Complaint in this

matter. (Richey Decl. ¶ 2.) Removal is therefore timely in accordance with 28 U.S.C.

§ 1446(b).




                                               3
         CASE 0:20-cv-02399-MJD-DTS Doc. 1 Filed 11/27/20 Page 4 of 5




       13.    The United States District Court for the District of Minnesota is the District

Court for the district embracing the entire State of Minnesota, including Hennepin

County where this action is currently pending. See 28 U.S.C. § 103. Venue is therefore

proper in this district pursuant to 28 U.S.C. § 1441(a).

       14.    Promptly after filing of this Notice of Removal, Florists’ Mutual will cause

a copy thereof to be filed with the State Court and cause written notice of this Notice of

Removal to be served on Bachman’s.

       15.    Defendant has paid the required filing fee and is filing a Civil Cover Sheet

simultaneously herewith.

       16.    Florists’ Mutual has a good and sufficient defense to this action.

       17.    By filing this Notice of Removal, Florists’ Mutual does not waive any

defenses that may be available to it in the State Court Action, and expressly denies any

coverage or liability for any damages alleged by Bachman’s.

       18.    For these reasons, this action may be removed to this Court under 28 USC

§ 1446(a).

       WHEREFORE, Defendant Florists’ Mutual Insurance Company respectfully

removes the State Court Action into the United States District Court for District of

Minnesota.



                                           Respectfully submitted,

                                           O’MEARA, LEER, WAGNER & KOHL, P.A.


                                              4
        CASE 0:20-cv-02399-MJD-DTS Doc. 1 Filed 11/27/20 Page 5 of 5




Dated: November 27, 2020.       By:        s/ Dale O. Thornsjo                .
                                   Dale O. Thornsjo (# 0162048)
                                   Lance D. Meyer (# 0393073)
                                   7401 Metro Boulevard, Suite 600
                                   Minneapolis, MN 55439-3034
                                   Telephone: (952) 831-6544
                                   E-Mail: DOThornsjo@OLWKlaw.com
                                           LDMeyer@OLWKlaw.com

                                   Attorneys for Defendant Florists’ Mutual
                                   Insurance Company




                                     5
